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                              UNITED STATES DISTRICT COURT
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                         CENTRAL DISTRICT OF CALIFORNIA
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      TOLMAN & WIKER INSURANCE             No. 2:20-cv-08641-JAK (AGRx)
 12   SERVICES, LLC, an
      ASSUREDPARTNERS COMPANY,             ORDER RE STIPULATION OF
 13                                        DISMISSAL (DKT. 56)
                 Plaintiff,
 14

 15
           v.

 16 THE LIBERTY COMPANY
    INSURANCE BROKERS, INC.,
 17 SEAN BORCHARDT, BITALINA
    SANCHEZ, AND NANCY
 18 LAUGHLIN,

 19              Defendant.
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Case 2:20-cv-08641-JAK-AGR Document 57 Filed 01/12/21 Page 2 of 2 Page ID #:723



  1         Based on a review of the Stipulation of Dismissal (the “Stipulation” (Dkt. 56)),
  2   sufficient good cause has been shown for the requested relief. Therefore, the
  3   Stipulation is APPROVED. This action is hereby dismissed in its entirety with
  4   prejudice. Accordingly, all claims asserted in the action against all parties shall be
  5   dismissed with prejudice. Each party shall bear costs and attorney’s fees pursuant to
  6   the written agreement of the Parties.
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  8   IT IS SO ORDERED.
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 10   Dated: January 12, 2021
 11
                                              John A. Kronstadt
                                              United States District Judge
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